                                                         Case 2:16-cv-02967-RFB-VCF Document 100 Filed 10/28/19 Page 1 of 3



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                                                     5 Attorney for Plaintiffs John Carter and Christine Carter

                                                     6                                 UNITED STATES DISTRICT COURT

                                                     7                                        DISTRICT OF NEVADA

                                                     8

                                                     9 JOHN CARTER and CHRISTINE CARTER,                    Case No.:            2:16-cv-02967-RFB-VCF

                                                    10                          Plaintiffs,

                                                    11 v.                                                               NOTICE OF APPEAL
THE LAW OFFICE OF VERNON NELSON




                                                    12 RICHLAND HOLDINGS, INC. d/b/a
                                                       ACCTCORP OF SOUTHERN NEVADA, a
                                                    13 Nevada Corporation; RC. WILLEY aka RC
                                  ATTORNEY AT LAW




                                                       WILLEY FINANCIAL SERVICES, and
                                                    14 JEROME R. BOWEN, ESQ.

                                                    15                          Defendants.

                                                    16          Notice is hereby given that JOHN AND CHRISTINE CARTER, Plaintiffs in the above-named
                                                    17 case, hereby appeals to the United States Court of Appeals for the Ninth Circuit from the final

                                                    18
                                                         judgment entered in this action on the 30th day of September, 2019. A Representation Statement
                                                    19
                                                         pursuant to Circuit Rule 3-2(b) is attached to this Notice of Appeal.
                                                    20
                                                               DATED this 28th day of October, 2019
                                                    21
                                                                                                      THE LAW OFFICE OF VERNON NELSON
                                                    22                                                           /s/ Vernon Nelson
                                                                                                          VERNON NELSON, ESQ.
                                                    23                                                By: Nevada Bar No.: 6434
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                                                    24                                                    Las Vegas, NV 89123
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                                                    26                                                    Attorney for Plaintiffs John Carter and
                                                                                                          Christine Carter
                                                    27

                                                    28
     Case 2:16-cv-02967-RFB-VCF Document 100 Filed 10/28/19 Page 2 of 3




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
John & Christine Carter


Name(s) of counsel (if any):
Vernon Nelson, The Law Office of Vernon Nelson



Address: 6787 W. Tropicana Ave., Suite 103, Las Vegas, NV 89103
Telephone number(s): 702-476-2500
Email(s): vnelson@nelsonlawfirmlv.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Richland Holdings dba AcctCorp of Southern NV, RC Wiley aka RC Wiley
Financial Services, Jerome R. Bowen, and Randall Corporation dba Bowen Law
Offices (“Bowen”)
Name(s) of counsel (if any):
Terry Coffing, Chad Clement, Jared Moser, Marquis Aurbach Coffing



Address: 10001 Park Run Drive Las Vegas, Nevada 89145
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To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
     Case 2:16-cv-02967-RFB-VCF Document 100 Filed 10/28/19 Page 3 of 3



Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
